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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
                       vs.                  )   Case No. 4:17-cr-00015-JEG-HCA
                                            )
SANDRA ZULEMA NAVARRO,                      )
                                            )
                      Defendant.            )

    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant

entered a plea of guilty to Count 1 of the Indictment.     After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined that the

guilty plea was knowing and voluntary as to each count, and that the offense charged is supported

by an independent factual basis concerning each of the essential elements of such offense.

Defendant understands and agrees to be bound by the terms of the Plea Agreement. I, therefore,

recommend that the plea of guilty be accepted, that a pre-sentence investigation and report be

prepared, and that the Defendant be adjudged guilty and have sentence imposed accordingly.



Date                                        CELESTE F. BREMER
                                            UNITED STATES MAGISTRATE JUDGE


                                           NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S .C. 636(b)(l)(B).
